                            THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

IN RE:        Pete McCullough III                  )              CASE NO.: 19-80950-CRJ 7
              XXX-XX-3714                          )
                                                   )              CHAPTER: 7
                                                   )
                DEBTOR.                            )

                              AMENDMENT TO SCHEDULE E/F TO
                           ADD ADDITIONAL PRE-PETITON CREDITORS

      COMES NOW the Debtor, Pete McCullough, III, by and through his attorney, Jeffrey B. Irby, and
amends his Schedule E/F-Creditors Holding unsecured non-priority, pre-petition claims as follows:

       SHEILA HALE, the mother and personal                       Unsecured
       representative of SHAWN BONE, deceased                     Amount: $1.00
       c/o MARSH, RICKARD & BRYAN, P.C.                           Unliquidated, Contingent, Disputed
       800 Shades Creek Pkwy, Suite 600-D
       Birmingham, AL 35209

                                                          Respectfully submitted,

       /s/ Pete McCullough, III                           /s/ Jeffrey B. Irby
       Pete McCullough, III                               Jeffrey B. Irby
                                                          Attorney for Debtor
                                                          300 Clinton Ave West Ste. 23
                                                          Huntsville, AL 35801
                                                          Phone: (256) 517-1505


                                       CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of foregoing document was served upon Judith
Thompson, Chapter 7 Trustee, all partied listed on the attached creditors matrix, and the parties listed
below either by depositing a copy in the United States Mail, postage prepaid, or electronically through the
Court’s cm/ECF system on this the 1st of July, 2019.

       SHEILA HALE, the mother and personal
       representative of SHAWN BONE, deceased
       c/o MARSH, RICKARD & BRYAN, P.C.
       800 Shades Creek Pkwy, Suite 600-D
       Birmingham, AL 35209

                                                          /s/ Jeffrey B. Irby
                                                          Jeffrey B. Irby




     Case 19-80950-CRJ7           Doc 23    Filed 07/01/19 Entered 07/01/19 16:54:07        Desc Main
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  Fill in this information to identify your case:
  Debtor 1             Pete                                         McCullough, III
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF ALABAMA

  Case number          19-80950-7
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Pete McCullough, III                                                             Case number (if known)      19-80950-7

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $1,146.00
1st Franklin                                                Last 4 digits of account number         1 1        0     2
Nonpriority Creditor's Name
                                                            When was the debt incurred?           12/2017
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 880                                                      Contingent
                                                                Unliquidated
                                                                Disputed
Toccoa                          GA      30577
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Secured
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $110.00
AmSher Collection Srv                                       Last 4 digits of account number         6     5    1     9
Nonpriority Creditor's Name
                                                            When was the debt incurred?           02/2018
4524 Southlake Parkway
Number        Street                                        As of the date you file, the claim is: Check all that apply.
STE 15                                                          Contingent
                                                                Unliquidated
                                                                Disputed
Hoover                          AL      35244
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for -AMERICAN FAMILY CARE/BHAM
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Pete McCullough, III                                                        Case number (if known)       19-80950-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.3                                                                                                                                     $70.00
AmSher Collection Srv                                    Last 4 digits of account number      4 0        9    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2017
4524 Southlake Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
STE 15                                                       Contingent
                                                             Unliquidated
                                                             Disputed
Hoover                        AL      35244
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collecting for -AMERICAN FAMILY CARE/BHAM
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                  $3,612.85
Crestwood Hospital                                       Last 4 digits of account number       A    C    T    S
Nonpriority Creditor's Name
                                                         When was the debt incurred?
One Hospital Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Huntsville                    AL      35802-0000
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                    $619.00
Redstone Fcu                                             Last 4 digits of account number      8 7        4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2017
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
220 Wynn Drive                                               Contingent
                                                             Unliquidated
                                                             Disputed
Huntsville                    AL      35893
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
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Debtor 1       Pete McCullough, III                                                        Case number (if known)       19-80950-7

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.6                                                                                                                                    $250.00
Redstone Fcu                                             Last 4 digits of account number      4 5        4    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2015
Attn: Bankruptcy Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
220 Wynn Drive                                               Contingent
                                                             Unliquidated
                                                             Disputed
Huntsville                    AL      35893
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Check Credit or Line of Credit
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                    $238.72
Redstone Federal Credit Union                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
220 Wynn Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Huntsville                    AL      35805-4513
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Checking act
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                      $1.00
SHEILA HALE, the mother and personal                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
representative of SHAWN BONE, deceased
Number        Street                                     As of the date you file, the claim is: Check all that apply.
c/o MARSH, RICKARD & BRYAN, P.C.                             Contingent
800 Shades Creek Pkwy, Suite 600-D                           Unliquidated
                                                             Disputed
Birmingham                    AL      35209
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           unsecured
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
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Debtor 1       Pete McCullough, III                                                     Case number (if known)        19-80950-7

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +          $6,047.57


                   6j.   Total.   Add lines 6f through 6i.                                            6j.              $6,047.57




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
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 Fill in this information to identify your case:
 Debtor 1                Pete                                                         McCullough, III
                         First Name                    Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ALABAMA

 Case number             19-80950-7
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................              $0.00


                                                                                                                                                                           $8,202.00
     1b. Copy line 62, Total personal property, from Schedule A/B.................................................................................................................................................................


                                                                                                                                                                                 $8,202.00
     1c. Copy line 63, Total of all property on Schedule A/B........................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                              $5,020.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                   $6,047.57
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                           $11,067.57




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                            $687.96
     Copy your combined monthly income from line 12 of Schedule I.........................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                      $683.00




Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1

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Debtor 1      Pete McCullough, III                                                         Case number (if known)     19-80950-7


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                       $283.65


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2

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 Fill in this information to identify your case:
 Debtor 1           Pete                                     McCullough, III
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name         Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ALABAMA

 Case number        19-80950-7
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Pete McCullough, III                             X
        Pete McCullough, III, Debtor 1                         Signature of Debtor 2

        Date 07/01/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1

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Label Matrix for local noticing       U. S. Bankruptcy Court                 1st Franklin
1126-8                                400 Well Street                        Attn: Bankruptcy
Case 19-80950-CRJ7                    P. O. Box 2775                         PO Box 880
NORTHERN DISTRICT OF ALABAMA          Decatur, AL 35602-2775                 Toccoa, GA 30577-0880
Decatur
Mon Jul 1 16:48:20 CDT 2019
AmSher Collection Srv                 C. Howard Grisham, Attorney            Crestwood Hospital
4524 Southlake Parkway                Po Box 5585                            One Hospital Drive
STE 15                                Huntsville, AL 35814-5585              Huntsville, AL 35801-3498
Hoover, AL 35244-3271


Redstone Fcu                          Redstone Federal Credit Union          Jeffrey B. Irby
Attn: Bankruptcy Dept                 220 Wynn Drive                         Jeffrey B. Irby, P.C.
220 Wynn Drive                        Huntsville, AL 35805-4513              300 Clinton Ave W, Ste 23
Huntsville, AL 35893-0001                                                    Huntsville, AL 35801-5590


Judith Thompson                       Pete McCullough III                    End of Label Matrix
P.O. Box 18966                        3211 Overhill Street NW                Mailable recipients     10
Huntsville, AL 35804-8966             Huntsville, AL 35810-3238              Bypassed recipients      0
                                                                             Total                   10




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